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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11   JORGE ARREOLA-GOMEZ,                                  CASE NO. 11-CV-2927-H
                                                                    06-CR-0590-H-1
12                                   Petitioner,
            vs.                                            ORDER DENYING
13                                                         CERTIFICATE OF
     UNITED STATES OF AMERICA,                             APPEALABILITY
14
                                   Respondent.
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16         On December 5, 2011, Jorge Arreola-Gomez (“Petitioner”), a federal prisoner
17 proceeding pro se, filed a petition for writ of habeas corpus pursuant to 28 U.S.C. § 2255.
18 (Doc. No. 926.) On March 8, 2012, the United States of America (“Respondent”) filed an
19 opposition to the petition. (Doc. No. 946.) On April 5, 2012, Petitioner filed a reply to
20 Respondent’s opposition. (Doc. No. 955.) On May 30, 2012, the Court issued an order
21 denying the petition. (Doc. No. 975.) On July 12, 2012, Petitioner filed a notice of appeal.
22 (Doc. No. 982.) The Court declines to issue a certificate of appealability for the following
23 reasons.
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 1          “Unless a circuit justice or judge issues a certificate of appealability, an appeal may not
 2 be taken to the court of appeals from . . . the final order in a proceeding under section 2255.”
 3 28 U.S.C. § 2253(c)(1)(B). A district judge may issue or deny a certificate of appealability.
 4 Fed. R. App. P. 22(b)(1). “A certificate of appealability may issue . . . only if the applicant has
 5 made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).
 6 “A petitioner satisfies this standard by demonstrating that jurists of reason could disagree with
 7 the district court’s resolution of his constitutional claims or that jurists could conclude the
 8 issues presented are adequate to deserve encouragement to proceed further.” Miller-El v.
 9 Cockrell, 537 U.S. 322, 327 (2003).
10          The Court concludes that Petitioner has failed to make a substantial showing that he was
11 denied a constitutional right. The Court reviewed the claims in Petitioner’s habeas petition,
12 assessed their merits, and concluded that the petition should be denied. (Doc. No. 975.)
13 Petitioner fails to show that jurists of reason could disagree with the Court’s resolution of his
14 constitutional claims or that jurists could conclude that Petitioner’s issues are adequate to
15 deserve encouragement to proceed further. See Miller-El, 537 U.S. at 327. Accordingly, the
16 Court denies a certificate of appealability because Petitioner has not made a substantial
17 showing that he was denied a constitutional right. See 28 U.S.C. § 2253(c)(2).
18          IT IS SO ORDERED.
19 DATED: July 23, 2012
20                                                       ______________________________
21                                                       MARILYN L. HUFF, District Judge
                                                         UNITED STATES DISTRICT COURT
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